     Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 1 of 46




              Response to Request for Proposal - Fillmore Heritage   Center




                                  THE REPUBLIC
                                   OF FILLMORE


Submitted to City and County of San Francisco by
Fillmore Entertainment Complex, LLC
Agonafer Shiferaw, CEO/Principal Managing Director
on April 24 , 2017
        Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 2 of 46


                       FILLMORE ENTERTAINMENT COMPLEX, LLC
    P.O. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 415 290 5299

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         [s_e
            .ction·J                               Table of Contents


             1               Introductionand ExecutiveSummary



             2               ProposedUse and CommunityBenefits

                             Floor Plans and Renderings

                             Exhibit H: Community Benefits Submission Form

                             Business Plan
                              ,,..
                                                                     .

             3               Statementof Qualifications



             4               FinancialStatements



             s               ProjectFeasibility



             6               Bid and Offer to Negotiate Exclusively I Exhibit E



             7               Project Schedule



             8               Proposal Execution



             9               Fonn SFEC-126 I Exhibit G



             10              Earnest Money Deposit - Registration




•                 Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 3 of 46

                     FILLMORE ENTERTAINMENT COMPLEX, LLC
 P.O. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 415 290 5299



April 24, 2017


City and County of San Francisco
General Services Agency
C/O: Real Estate Division
25 Van Ness Avenue, Suite 400
San Francisco, California 94102

Response to: Request For Proposals: Fillmore Heritage Center

Dear Review Panel:

The Fillmore Entertainment Complex, LLC presents a bold repurposing of the Fillmore Heritage Center
that reactivates the entire building day and night with stimulating sounds, aroma and visuals. The
Fillmore Entertainment Complex, LLC proposes to purchase the Fillmore Heritage Center airspace parcel
and parking garage parcels located at 1300 to 1330 Fillmore Street, San Francisco, California. These
commercial airspace parcels are identified by the San Francisco County Assessor as Block 0732, Lot 32
and Block 0732, Lot 33. The investment will facilitate the acquisition, remodeling, refurbishing and
rebranding of the 50,000-square-foot property. The building, to be renamed The Republic of Fillmore,
will be a beacon symbolizing social change, lighting the street and creating opportunities for
entrepreneurs, restauranteurs, musicians, and independent artists. Envisioned as a regional destination
point, the redesigned facility will include the existing 1300 on Fillmore restaurant, a food hall
encompassing three new restaurants, a new sports bar, a blues lounge, Marcus Bookstore coffee tea cafe,
the existing 400~seat entertainment show room with VIP lounge, the community movie theatre, a
redesigned gallery/ concept store, and six new artisan kiosks/ popup shops on the Fillmore and Ellis
Streets walkway Parcel 0725, Lot 26.

The Fillmore Entertainment Complex, LLC is prepared to offer $6.5 million toward the purchase of the
property. The project is expected to be fully operational in approximately 12 months. The Fillmore
Entertainment Complex, LLC will complete the transfer of title and closure of escrow, with due diligence,
within 90 days of the acceptance of the offer by the City and County of San Francisco.

The Fillmore Entertainment Complex, LLC is a socially conscious investment group which considers
community benefit and cultural relevance as vital parts of the project. To that end, the Fillmore
Entertainment Complex, LLC has budgeted $300,000 to support culturally relevant community activities
on the lower Fillmore. Culture and community are the essence of San Francisco's Fillmore District. The
gathering of a diverse people define this neighborhood as a place for celebration as much as for
conversation. Here, we share experiences, honor the legacy of the past, and capture the spirit of the
future.




                 Response to RFPfor Fillmo re Heritage Center I The Republic of Fillmore
            Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 4 of 46

                        FILLMORE ENTERTAINMENT COMPLEX, LLC
     P.O. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 415 290 5299



    Executive Summary



    The Fillmore Entertainment Complex, LLC envisions The Fillmore as a center for social change, where
    diverse people come together to discuss, to plan and to create. The Republic of Fillmore will provide the
    environment to promote this interaction with a variety of opportunities for community members and
    new visitors:
        • a food hall encompassing three new restaurants serving comfort food of different regions
        • the fine dining of the critically acclaimed 1300 on Fillmore restaurant serving south classics
        • a sports bar where customers will be visible from the street
        • a blues lounge to appreciate the purest form of American music
        • a movie theatre screening independent films
        • a bookstore cafe where coffee or tea accompanies discussion
        • an entertainment show room with diverse programming
        • an art gallery or concept store celebrating culture, community and creativity
        • outdoor artisan kiosks/popup shops

    The Fillmore Entertainment Complex, LLC estimates the total investment to acquire the property and
    complete the structural and tenant improvements will be $8 million . This amount will ensure adequate
    reserve to service debt and operational costs until tenants are in place. The Fillmore Entertainment
    Complex, LLC is prepared to offer $6.5 million toward the purchase of the property. The project is
    expected to be fully operational in approximately 12 months.


    Mission
    The mission of the Fillmore Entertainment Complex, LLC is to preserve the property at 1330 Fillmore
    Street in San Francisco as an African American-owned entertainment, dining and cultural venue that is
    self-sustained and economically viable.

    Agonafer Shiferaw, CEO / Principal Managing Director of the Fillmore Entertainment Complex, has more
    than 30 years of experience as a business owner and operator in San Francisco. In the mid -1990s, he
    worked closely with the Fillmore Jazz Preservation District Task Force as part of the City's efforts to
    acknowledge the African American history of the neighborhood, which led to the 2007 creation of the
    Fillmore Heritage Center anchored by Yoshi's jazz club/ restaurant and 1300 on Fillmore restaurant. He
    was the owner and operator of the popular Rasselas Jazz Club and Restaurant from 1986 to 2003 on
    California Street in San Francisco and from 1999 to 2013 on Fillmore Street south of Geary until he saw
    how his commercial and residential real estate interests could benefit his larger vision for the community.

    For this proposal, he and his team performed nearly three months of research and interviews with
    national music venues, retail consultants, neighborhood businesses, community and spiritual leaders,
    and arts organizations .




•                   Response to RFPfor Fillmore Heritage Center I The Republic of Fillmore
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 5 of 46


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  P.O. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 41S 290 5299



Challenges

Since the closure of the property in 2015, community members and retail consultants have brought forth a
number of concerns that the existing Fillmore Heritage Center presents to prospective buyers:
    • Difficulty with identifying a non-chain entertainment/ restaurant venue to lease the large 28,000
        square foot space occupied by the space originally designed for Yoshi's.
    • Limited existing spaces designed for daytime activities.
    • The property - like many of the properties on Fillmore south of Geary- appears dosed to the
        street, particularly when curtains are drawn during the daytime and screened photographs
        permanently covered the windows of the art gallery.
    • The sides of the building that face north and south are non-descript, so pedestrians within a block
        away often cannot see if there is any activity in the building.
    • Not enough affordable options, variety of activities, or places to gather.

Solutions
The Republic of Fillmore provides a complementary experience for community members and visitors by
vastly increasing transparency and maximizing the space within the existing building . Features include:
    • Subdividing the existing street side restaurant, visually opening the building to the street, and
         increasing visibility of the property to the north and south.
    • Glass facades and enhanced indoor lighting will allow passersby to look into the spaces.              A
    • New exterior and indoor lighting and signage will vastly improve visibility from a distance.          W
    • Some spaces will have day and night use: the entertainment venue and the three new restaurants.
    • Neighborhood-serving spaces open in the daytime will be the gallery, bookstore cafe and theatre.
    • Spaces expected to operate in the evening will be the blues lounge, and 1300 on Fillmore
         restaurant (other than gospel brunch Sundays).
    • [n the northern adjacent parcel owned by the City, we propose to create six outdoor kiosks that
         we will offer to neighborhood artisans and entrepreneurs to operate to mimic the vendor booths
         at the successful Farmers Market in the neighborhood.

Community Benefits
Community participation is essential to the success of The Republic of Fillmore. The Fillmore
Entertainment Complex, LLC, has budgeted $300,000 to support culturally relevant community activities.
Among the ways that this center intends to support the community through sponsorships, programs and
discounted rates:
   •   More than 300 FTE jobs are expected to be provided by all the establishments.
   •   Entrepreneurial opportunities at new kiosks/ popups.
   •   Scholarship fund and on-the-job training for the culinary arts.
   •   Management and entrepreneurial training to operate the parking garage.
   •   Sponsorships and seasonal home for the San Francisco Black Film Festival, St. John Coltrane
       Church, Lorraine Hansberry Theatre, Afro Solo, and Cultural Odyssey .
   •   Retail space for Marcus Bookstore, along with a coffee tea cafe.
   •   Office and meeting space for the San Francisco Black Chamber of Commer ce.
   •   Establishment of a business improvement district for the lower Fillmore.



               Response to RFPfor Fillmore Heritage Cente r I The Republic of Fillmore
                                                                                                            •
        Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 6 of 46

                       FILLMORE ENTERTAINMENT COMPLEX, LLC
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Proposed Use and Community Benefits


Project Plan for the Property

The Fillmore Entertainment Complex, LLC proposes a cultural and community venue called The
Republic of Fillmore designed to invite patrons of one establishment to another with new entryways into
the lobby and businesses that complement one another.
                    Type of Use                      Square Feet                     Former Use
 Entertainment show room                                     4,263 sf Yoshi's music venue
                                                      (public space
                                                     on both floors)
                                                       plus 1,163 sf
                                                         VIP lounge
                                                             and bar
 Restaurant: 1300 on Fillmore                                6,300 sf same
 Restaurant 1                                                1,045 sf
                                                         d1ning area
                                                          plus 750 sf
                                                        kitchen area
 Restaurant 2                                                1,194 sf
                                                         dining area
                                                          plus 900 sf Yoshi's restaurant
                                                        kitchen area
 Restaurant 3 with fire pit                                  1,114sf
                                                         dining area
                                                       plus 1,160 sf
                                                        kitchen area
 Blues lounge                                                  767 sf Yoshi's bar and lounge
 Sports bar                                                    377 sf Koret lobby alcove
 Gallery/concept store                                       1,232 sf Lush life Gallery
 Bookstore and coffee tea cafe                                 570 sf part of Lush Life Gallery and garage ticket
                                                                       office in Koret lobby
 Community movie theatre                                       984 sf same
 Offices on second floor                                       808 sf same
 Artisan kiosks/popup shops, 6                           144 sf each
                                                              or total sidewalks
                                                               864 sf

         (Note: Figures for support spaces on both levels and the parking garage are not reflected above.)




                  Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
         Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 7 of 46


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 P.0. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 415 290 5299



   •     The 400-seat entertainment venue will essentially remain the same without food service and
         with the mezzanine lounge serving as their VIP Lounge. The Fillmore Entertainment Complex,
         LLC has been in discussions with Blue Note, the B.B. King Club and Marcus Samuelsson/the Red
         Rooster Restaurant in Harlem, New York, regarding programming for the entertainment venue.
   •     The critically acclaimed 1300 on Fillmore southern-inspired jazz restaurant will be preserved as
         is, with a bold color at the entry to draw attention to the south side of the building.
    •    The former Yoshi's restaurant is being divided into three restaurants with separate k itchens.
         Each will have a street-facing glass fa4-ade.The Fillmore Entertainment Complex, LLC is targeting
         high-quality comfort foods of different cultures . One of the restaurants will host a corner fire pit
         surrounded by glass, with the intention of drawing attention to the property.
    •    The blues lounge will host live music and provide drinks at the bar and comfortable seating at
         cocktail tables.
    •    A new sports bar visible from the street and enclosed in glass will add variety to the space.
    •    The gallery, which could also be a retail space such as a concept store, will be opened up with
         both existing doors in use and photo screens removed. There will also be a new entry from the
         lobby to the gallery.
    •    The bookstore and coffee lea cafe will be centrally located with fixed benches . Roll-down doors
         will cover the bookstore and cafe after hours.
    •    The community movie theatre will focus on independent films such as those screened at the
         Black Film Festival. Signage and a new window at the entry will better acknowledge the space to



                                                                                                                 •
         the public.
    •    Offices on the second floor will provide satellite office space for cultural community groups.
    •    The Fillmore Entertainment Complex, LLC proposes to host and manage six new kiosks/popup
         shops for street vendors and community entrepreneurs on the City's Parcel 0725, Lot 26.


See tlie followiug pages for reuderiugs/floor plaus:
    a.   Exterior overview of The Republic of Fillmore
    b.   Corner of Fillmore and Eddy Streets with 1300 on Fillmore restaurant
    c.   Axonometric view of ground/first floor plan
    d.   Axonometric view of second floor plan
    e.   Ground/ first floor plan
    f.   Second floor plan
    g.   Comer beacon fire pit on Fillmore and Ellis Street
    h.   Fillmore Street view of restaurants
    i.   Food hall foyer entry to restaurants
    j.   Restaurant 1 interior looking through Restaurant 2 and 3
    k.   Restaurant 1 entry
    I.   Restaurant I looking toward Fillmore Street
    m.   Coffee tea lounge and bookstore
    n.   Sports bar in lobby
    o.   Outdoor kiosks on Fillmore and Ellis Streets




                 Response to RFPfor Fillmore Heritage Center I The Republic of Fillmore
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                                            Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 8 of 46




a. THE REPUBLIC OF FILLMORE
FILLMORE ENTERTAINMENT AND DINING COMPLEX
    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 9 of 46




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•
          b. CORNER OF FILLMORE AND EDDY
          STREETS WJTH 1300 FILLMORE RESTAURANT
•                                                                               •

                   KITCHEN 1, 2 & 3



       RESTAURANT
       1. 2 & 3




                                                                 BLUES LOUNGE




                                              GALLERY I RETAIL
                                                                                    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 10 of 46




c.   AxoNOMETRIC      VIEW GROUND     FLOOR
    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 11 of 46




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      EDDY                      GAllERY /              COMMUNITY
                           !\   RETAIL                 MOVIE THEATER
      STREET
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     GROUND   FLOOR PLAN
                                                                       RENDERINGBY BARCELONJANG ARCHITECTURE
    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 13 of 46




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    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 14 of 46




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    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 15 of 46




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     Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 16 of 46




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Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 18 of 46




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I.   RESTAURANT   1   LOOKING TOWARD FILLMORE STREET
    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 20 of 46




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    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 21 of 46




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Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 22 of 46




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        Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 23 of 46

                     FILLMORE ENTERTAINMENT COMPLEX, LLC
  P.O. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 415 290 5299



Uses in Context of Streetscape and Commercial Corridor

The Republic of Fillmore addresses the City's critical need for activating the commercial corridor in the
lower Fillmore. Maximizing transparency to the street will help people be aware of the activities inside
the building and will benefit neighboring businesses.
    •   New exterior lighting of the building will make it glow al night, making it a visible destination.
    •   Exterior lighting directed on the sidewalk will brighten the block and be visible from a distance.
    •   At the north corner, a fire pit visible behind a glass storefront will be an attraction seen from a
        distance.
    •   Signage will be enhanced and improved to increase visibility. New blade signs, seen from the
        north and south, will be markers indicating the new restaurants.

The Republic of Fillmore will be consistent with the existing streetscape and commercial corridor, sharing
interest with and promoting the surrounding within the neighborhood, including the Mini-Park at
Fillmore and Turk, the West Bay Conference Center, and establishments such as Jazz'z Salon and the
Fillmore Cafe across the street and throughout the corridor.

The Fillmore Entertainment Complex, LLC, has a larger vision to bridge the gap between the lower
Fillmore (Western Addition) and upper Fillmore (Pacific Heights), promoting retail on both sides of
Geary as one continuous commercial corridor.

Conformity with City's Planning and Design Goals
The Fillmore Entertainment Complex, LLC ensures that all features will be compliant with San Francisco
planning and design requirements. By lighting the building, sidewalk, comers, and enhancing the indoor
lighting of the restaurants, The Republic of Fillmore will be creating safer streets that will better connect
merchants, pedestrians and residents.


Addressing Community Benefits
Community benefits are essential to this proposal and to the success of the Republic of Fillmore. Upon
the signing of the agreement with the City and County of San Francisco, the Fillmore Entertainment
Complex, LLC, will employ a Community Liaison to convene a Community Committee to develop a
strategic plan and formally outline the benefits and funding for community benefits.

Among the ways that the Fillmore Entertainment Complex, LLC, proposes to support the community
through programs and discounted rates:

    •   Entrepreneurial opportunities at new kiosks/popups.
    •   Scholarship fund and on-the-job training for the culinary arts.
    •   Management and entrepreneurial training to operate the parking garage.
    •   Seasonal home for the San Francisco Black Film Festival, Lorraine Han sberry Theatre, Afro Solo,
        and Cultural Odyssey.
    •   Retail space for Marcus Bookstore, along with a coffee tea cafe.
    •   Office and meeting space for the San Francisco Black Chamber of Commerce .
    •   Establishment of a business improvement district for the lower Fillmore .

See Exltibit H on the /ollowi11g pages for additional details of benefits to tire community.


                Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 24 of 46




                                       EXHIBITH
                     COMMUNITY BENEFITS SUBMISSION FORM

The City and County of San Francisco ("City") is looking for significant community impact from
the repurposing of 1300-1330 Fillmore Street ("Property") on a scale that meets or exceeds the
value difference between the bid price and the appraised value of the property.

Proposals should provide meaningful benefits to the Fillmore corridor, the Western Addition
community, and the City as a whole. The proposals should clearly outline and define feasible and
sustainable benefits as well as a plan for overseeing and monitoring each proposed benefit.
Above all, proposals for the property should think creatively about how to best ensure that the
repurposed property provides an overall benefit to the community.

A proposal may include, but not be limited to the following community benefits. Please elaborate
as best and detailed as possible (using additional pages as may be necessary). in conjunction with
your business plan, how your proposed benefits would help meet the needs listed below. If your
proposal does not address one of the types of community benefits listed below, indicate: ''NIA"
or "None".

    (A)      Does your Proposal establish partnerships with nonprofit
           organizations or local small hllsinesses? If so, please explain:
  The Fillmore Entertainment Complex, LLC, will establish partnerships with organizations
  after signing with the City. Among the partnerships we are proposing:

            San Francisco Black Film Festival: seasonal home, allowing an extended showing period

               and year-round programmatic access.

            Marcus Bookstore: retail space to include a coffee tea cafe.

             Lorraine Hansberry Theatre: seasonal support and staged readings.

             Afro Solo: seasonal support.

             Cultural Odyssey: seasonal support for the Cultural Odyssey, Rhodessa Jones,

                 and Idris Ackamoor.

             Black Chamber of Commerce: Office and meeting space assistance.
    Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 25 of 46




  (BJ       Does yollr Proposal provide affordable Commllnity
          Activation Opportunities? Is so, please explain:


Yes. Our community movie theatre for the San Francisco Black Film Festival and our cafe for
Marcus Bookstore are places that we anticieate will have dail y use by communi ty members.
Affordable ticket pricing, coffee, tea and desserts will make these places in particular regular
spots for the communi ty.

For the restaurants, we are also targeting eateries with fair pricing to generate more business for
the establishment and a regular customer base.




  (CJ       Does yollr Proposal create jobs (short-term and/or
         permanent)? Are any of these jobs intended for local
         residents? Please explain:


 We are projecting 300 full-time jobs. This number does not include indirect employment
 creation. We will encourage all establishments to do employment outreach to local,
 communi ty residents.
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 26 of 46




    (DJ       Does your Proposal provide entreprene11rship
            opportunities? In particular, are there such opportunities
            created for minorities or women? Please explain:


    Yes. We are constructing six artisan kiosk / popup shops as part of the community investment
    package. We are creating a management training and entrepreneurial opportunity, where
    entrepreneurs will be recruited and trained to manage the Fillmore Heritage Center garage on
    a contract basis. Our proposal includes on•th~-job culinar y trainin g and a related scholarshi p
    fund.




    U\·e additional pages as needed , if applicahle, plea .'>elahel any sheet "A ", "B ", "C ", "D"




•                                   p: 415. 554.6 969   f. 415.554.60 18
              Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 27 of 46


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      Business Plan


      Project details, development team profiles, financial forecasts, and community impact are all addressed in
      other sections of this proposal.

      Marketing
      The Republic of Fillmore is designed as an international, intergenerational center primarily targeting
      adults who desire comfortable surroundings.

      To ensure the economic sustainability of the center, we must consider the following data from The Food
      Institute, 2012, and from the U.S. Department of Labor Bureau of Labor Statistics, 2013-14:
           • San Francisco Bay Area households spend almost 17 percent of their budget on food and
               entertainment. This combination of expenses is second only to what they spend on housing.
           • U.S. adults age 35-54 spend an average of $7,357 annually on food away from home. San
                Francisco-area households spend 48 percent of their food budget on food prepared away from
                home.
           • More than any other generation, Millennials commit the largest portion of their food
                expenditures to food away from home. Classics with a twist appeal to Gen Xers. Boomers enjoy



•               the classics they were raised on, but require low sugar and sodium .
           • While only 4 percent of the U.S. population, Asians have the largest annual spending on food
                away from home, 48%, which is larger than whites, Hispanic Latino, or African American.

      The Republic of Fillmore will be marketed to invite a diversity of comfort food with fresh, high quality
      fare at fair prices. Among the cuisines unrepresented in the neighborhood are Italian, Mexican and
      American (other than southern) .
      The Republic of Fillmore presents a great opportunity to create cultural engagement. While we envision
      the restaurants and sports bar primarily targeting 35-54 year olds, the bookstore, cafe and movie theatre
    • will be attractive to Millennials. The blues lounge will appeal to Baby Boomer music enthusiasts , as well
      as the Millennials who were influenced by their parents' choice of music and now learning music
      appreciation. The 400-seat entertainment venue is expected to draw a wide variety of groups through its
      programming, which may include children's theatre, speaking engagements, salsa dancing, comedy and
      concerts.

      The Fillmore Entertainment Complex, LLC has been in discussions with national music venues for
      programming and promotions .

       We will actively work with the Lower Fillmore Merchants Association, community partners and
       neighborhood events producers on cross promotions .




•                      Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 28 of 46

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Statement of Qualifications


Development Team Qualifications

Sole Legal Entity
The Fillmore Entertainment Complex, LLC

Major Consultants
Business Consultant: Todd Clayter
Retail Consultants: Clayton Jew, Max Sander, Stan Cohn of Kidder Mathews
Community Consultant: Christine Harris
Design Consultant: Barcelon Jang Architecture
Legal Counsel: Paul E. Manasian, Esq.

Lead Negotiator
Agonafer Shiferaw, CEO/ Principal Managing Director, Fillmore Entertainment Complex, LLC

Operation and Management
The Fillmore Entertainment Complex, LLC and Agonafer Shiferaw will assume all operation and
management responsibilities upon project completion. He will be responsible for the day-to-day
operations, profitability, growth and long-term strategy. He will also act as the primary contact for the
community partnerships.

Guaranty
Refer to Goldman Financial Group letter in Financial Statements section number 4.




                  Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
      Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 29 of 46


                     FILLMORE ENTERTAINMENT COMPLEX, LLC
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Development Team Expertise

Developer
Agonafer Shiferaw is CEO and Principal Managing Director of the Fillmore Entertainment Complex,
LLC, and the visionary behind The Republic of Fillmore.

He has owned and operated businesses in the City and County of San Francisco since 1981. He opened
his first business, Super Hardware Home Improvement Center, at 2028 California Street in 1981. After
nine successful years, Super Hardware Home Improvement Center was sold in 1990. In 1986, he opened
the Rasselas Jazz Club and Restaurant at the comer of Divisadero and California Streets. Rasselas rose to
fame as one of the most recognized jazz clubs in San Francisco until its closure in 2003.

In 1990, Mayor Frank Jordan created the Fillmore Jazz Preservation District Taskforce. The Task Force -
a genuinely dedicated, intelligent, and energetic group - labored tirelessly with the Redevelopment
Agency staff and Commission to formulate a plan and program to create a framework for African
American entrepreneurship on Fillmore Street. From this collaborative effort, the Old Fillmore Jazz
Preservation District ("Jazz Preservation District") was created; it was proclaimed with much fanfare as
an official policy program of the City and County of San Francisco. In 1995, the San Francisco
Redevelopment Agency approached Shiferaw to become a joint anchor developer in the Fillmore Jazz
District revitalization effort.

Shiferaw was actively involved with the Task Force and its Jazz Preservation District efforts until its
closure in the late 1990s. This involvement has included attending agency and community meetings ,
working with City of San Francisco staff and recommended consultants. After a period of consultation
with the Fillmore community residents and the City of San Francisco, Agonafer Shiferaw decided to              •
partner with the City of San Francisco to revitalize the lower Fillmore in the creation of the Fillmore Jazz
Preservation District.

In 1999,Shiferaw opened Rasselas on Fillmore while continuing to own and manage the Rasselas on
California Street location. The two Rasselas locations were the only jazz locations in the Western Addition
until Yoshi's opened in 2007. As an active owner manager, Shiferaw, managed staff, booked
entertainment, ordered food and beverage, negotiated special events and rental of residential and
commercial property while ensuring compliance with regulatory requirements . Shiferaw has also
overseen the planning and completion of major tenant and structural improvements.

As a result, through patience and hard work, Shiferaw has been able to purchase both commercial
buildings and a 16-unit apartment building in Pacific Heights. Agonafer Shiferaw's current real estate
assets in San Francisco and Oakland are valued at $22 million with a net equity value of $15 million and
2016 income of $937,776.00.This amount is projected to exceed $1 million in 2017.




               Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 30 of 46

                    FILLMORE ENTERTAINMENT COMPLEX, LLC
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BusinessConsultant
Todd Clayter is advising the Fillmore Entertainment Complex, LLC on retail opportunities, including
those that are mission-aligned.
He is an independent business consultant, specializing in real estate development, particularly urban
infill, mixed commercial/ residential projects. He has been a consultant to UrbanCore LLC, a real estate
development firm in San Francisco for the past five years. Prior to that, he was Development Manager for
The Jefferson Company (later Primus Infrastructure, LLC), responsible for the preparation, adoption and
implementation of the Fillmore Jazz Preservation District in San Francisco's historic Fillmore District.
Over a 10-year period, his work included advising UrbanCore (formerly Em Johnson Interest) on the
retail development program for the Fillmore Heritage Center (retail and condos) as well as programming
theme-related stores in the blocks adjacent to this catalyst project.

In the role of co-development manager for the rehabilitation of the Ferry Building in San Francisco, Mr.
Clayter was responsible for entitlements, including multi-jurisdictional regulatory approvals,
development agreement and lease negotiations, public policy compliance and reporting for the $100
million restoration of this national historic landmark. In conjunction with Wilson-Equity Office, he
participated in all aspects of design development, retail programming and long-term tenant buyout
negotiations . The project was initiated in 1998 and completed in 2004.

Clayter was a Project Manager for the development of AT&T Park (formerly Pacific Bell Park) in San
Francisco. As a member of the construction management team for the $350 million stadium project built
for the San Francisco Giants, he implemented and oversaw a small business utilization and local
employment program that yielded $42 million in local consulting and contracting, and a job training and
placement program that yielded 200 new construction workers.

Clayter holds a Master's in Regional Science (Urban Economics and Public Policy) from Cornell
University, and a Bachelor's in Political Science (Urban Studies) from UCLA. He also was an Urban Land
Institute Fellow while studying law at Hastings College of the Law in San Francisco.

Retail Consultant
Clayton Jew, Max Sander, Stan Cohn with Kidder Mathews are advising on restaurant sales and leasing.

Clayton D. Jew is First Vice President with Kidder Mathews . He has provided real estate advisory
services to San Francisco and Bay Area clients requiring assistance in acquisitions, disposition, and tenant
and landlord representation for over two decades. He is committed to establishing and maintaining
viable long-term business relationships, demonstrated by continuing success in working with domestic
and international clients in locating opportunities and providing advisory services beyond simply selling
a property or leasing a space. In the San Francisco office marketplace, Jew has secured a notable portfolio
of historic, commercial, development and mixed use projects. Among his clients are Laramar
Management for the 100,000sf Fillmore Center. Jew holds a Bachelor of Science degree in economics from
the University of California at Davis and a Master's degree in Business Administration from California
State University at San Jose. Additionally, he has completed course work in Real Estate Development
and Real Estate Investment Analysis at both U.C. Berkeley and Golden Gate University. He is a licensed
California Real Estate broker.

Max Sander is a retail specialist with Kidder Mathews. He focuses on representing a broad spectrum of
clients, including local and global restaurant groups. He continues to advise tenants, investors and
developers on the acquisition and disposition of retail real estate projects. Prior to joining Kidder
Mathews' San Francisco Brokerage division, Max had a successful career in the San Francisco restaurant
and food industry as an executive in the operations and property management of his family's restaurants ,
including the historic Hayes Street Grill and Vicolo Pizza, a national wholesale pizza company . His
extensive knowledge of the Northern California market, combined with his broad operational experience


                Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
      Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 31 of 46

                     FILLMORE ENTERTAINMENT COMPLEX, LLC
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in the restaurant and retail industries, offers his clients a complementary mix of real estate experience.
Personal experience in the Bay Area restaurant and wholesale food business gives him critical insight into
real estate issues confronting local retailmarkets. He has been exclusively engaged in various restaurant
projects on behalf of a wide range of clients involving various restaurants, bars, and clubs . A San
Francisco native, Sander is a graduate of the University of California in Los Angeles.

Stan Cohn has been a partner with Kidder Mathews since 2006. Since 1978,he has been directly involved
in over $2 billion of investment and lease transactions on behalf of a wide range of clients, including some
of the largest retail, restaurant, development and investor groups in the world. His broad experience in
sales, leasing, development, and project management provides his clients with a multi-faceted approach
to each project. Prior to joining Kidder Mathews, he served for 10 years as managing principal of GVA
Whitney Cressman, which merged with Kidder Mathews in 2006. From 1985-1996,he served as a Director
in Cushman & Wakefield's Retail and Financial Services Groups. Prior to that time, he was the senior
member of Coldwell Banker's Retail Group in San Francisco. Cohn has completed many notable
retail / restaurant sale and lease transactions, including the following: The Ferry Building (Slanted Door),
101 California Street (Mina Group/PABU), Hills Plaza (Gordon Biersch), Zuni Cafe, Stars, One Market
Restaurant, Sushi Ran, and a range of traditional retail assignments on behalf of Neiman Marcus, Saks
Fifth Avenue, Hermes, and others. Cohn received his BA from University of California, Berkeley and his
MS in Business (Sloan Fellowship) from Stanford University, Graduate School of Business.

Community Consultant
Christine Harris is fund raising for the Black Film Festival, which will be housed in The Republic of
Fillmore.

She has been active in civic life for more than 40 years. A member of the Citizens Committee for the
Preservation of the African American Heritage Center, she maintains an active presence in the Fillmore
District, where she formerly resided and volunteered. She has served as the Chair of the Board of
Directors of the Jazz Heritage Center in the Fillmore Heritage Center, Director of the San Francisco Bay
Area Jazz and Blues Digital Archive Project, and an Advisory Board member of Urban Solutions, the
nonprofit community and economic development organization with an office in the Fillmore. Her
neighborhood fundraising experience has also included support for musicians who perform every
Saturday at San Francisco's Farmers Market in the Fillmore, a gathering place for the Fillmore's Black
community.

Harris' professional experience includes serving as College Relations Office for the College of Ethnic
Studies at San Francisco State University, where she supported alumni relations and fundraising support
for the College. A graduate of Indiana University in Bloomington, she had a career as a radio and
television journalist in Washington DC, Louisville and Chicago, where she actively recruited students of
color into the profession.

She is the recipient of the San Francisco Human Relations Commissions Arts Award, City of San
Francisco Service recognition from Supervisor London Breed, and 100 Black Women, San Francisco
Chapter, for contributions to the arts.

Design Consultant
Barcelon Jang Architecture is working with the Fillmore Entertainment Complex, LLC, on the redesign of
the Fillmore Heritage Center.

Located in the Fillmore, Barcelon Jang Architecture is committed to projects that build relationships for
people, culture and community in a sustain ably built environment. The firm focuses on the cultural
enrichment of communities and explores the surrounding environment to present clients with modern
design possibilities for a sustainable future.




               Response to RFP for Fillmore Heritage Center I The Republ ic of Fillmore
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 32 of 46

                         FILLMORE ENTERTAINMENT COMPLEX, LLC



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    Founded in 1976 by UC Berkeley Architecture graduates Wayne Barcelon and Darlene Jang, the firm
    specializes in cultural and educational facilities and affordable housing. Their portfolio includes Bay Area
    museums, the culinary programs at City College of San Francisco's Downtown and Chinatown-North
    Beach campuses, the Tenderloin Community School, and Western Park Apartments in the Western
    Addition.

    A woman-owned and minority-owned small business, the firm is recognized for its artistic repurposing
    of buildings that now decorate the landscape in San Francisco, utilizing color palettes that bring
    communities alive. This includes the Alexis Apartments at Clementina and Fifth Street, Woolf House
    Apartments at Fourth and Howard, and Essex Hotel on Larkin and Ellis.

    The firm espouses a collaborative approach in community design, working with neighborhood
    community groups, non-profit organizations, and local and state regulatory agencies. The team's
    participation during planning and community engagement at public hearings and workshops
    expedites public approval of projects from inception to completion.

    Barcelon Jang Architecture has received awards and honors from San Francisco Beautiful, the California
    Preservation Foundation, the National Trust for Historic Preservation, the National Endowment for the
    Arts, and the National and San Francisco chapter of the American Institute of Architects.

    They are active members of the Lower Fillmore Merchants Association, and supporters of the National
    Organization of Minority Architects' Project Pipeline, African American Art & Culture Complex, and
    First Friendship Institutional Baptist Church.

    Legal Counsel
    Paul Manasian will serve as general counsel to Fillmore Entertainment Complex, LLC. He has 30 years of
    experience as a commercial attorney working at several large law firms in San Francisco and as a sole
    practitioner. He has extensive experience in real estate transactions, including the restructuring and
    origination of a number of complex project financings both for lenders and borrowers. His expertise in
    leasing, construction contracting and corporate capitalization will be essential to the Fillmore
    Entertainment Complex, LLC's development of the Fillmore Heritage Center . He is a resident of San
    Francisco and a graduate of Hastings College of the Law.




                     Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
      Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 33 of 46


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Bankruptcy
In 2011, as a result of the worldwide recession in real estate, Agonafer Shiferaw needed to organize his
portfolio and filed for bankruptcy March 2011, which was discharged with an approved reorganization
plan on August 15, 2012. Refer to docket 011 tlie followitlg page.

Legal Proceedings
The Fillmore Entertainment Complex, LLC, has no pending legal proceedings or actions that have been
filed against the entity or lead principal as an individual.




              Response to RFPfor Fillmore Heritage Center I The Republic of Fillmore
       Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 34 of 46


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Financial Statements


Audited Financial Statements
Refer to fina11cial statements 011tlie following pages. For credit report, refer to Experian report on
following attachment.

Financing Sources
Refer to Goldman Fi11a11cial
                           Group documents attached.

Evidence of Liquid Assets
Refer to Wells Fargo liquidity letter (cas11on hand) attaclted.




                 Response to RFPfor Fillmore Heritage Center I The Republic of Fillmore
            Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 35 of 46

                                FILLMORE ENTERTAINMENT COMPLEX, LLC



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    Project Feasibility


    Construction and Development Costs
    Construction and tenant improvement allowance is estimated at $800,000.

    Project Pro-Fonna

     FIiimore Entertalnmont Compl01, LLC
     Financial Projects -Five Year -Roal Estate
     fisca l Year January I 10 December 3 1
                                                                                              Year                                                 Year
                                           Slmrtup Cost                        YearT,.· o     Three       Year Four     Year Fh'e    Year Sb       Seven          Total
                                                                 Year One
                                           (C, ,n ,ttn.Cl/1Jtt                                                                                                    (Fiw
                                                 Ya:ar)                                                                                                            Ycur)
     Revenue

     Gross Rent Receipts                                         Sl ,250,000 Sl ,250,000 Sl.25 0,000      51.2s0 .000 51,250,000     51,250,000   51,250,000    $8,750 .000

     E1penscs
     Property Purchase Price                  56,500,000
     Debt Service (f irst Year Interest        $265,000           $365,000      5365,000      $365,000     S365,000      $365,001     S365,001     S365,001
     Only)                                                                                                                                                      52,555,003
     Properly Tax                                 $77,000          NNN           NNN          NNN           NNN           NNN          NNN          NNN
     Property Insurance                          5113,000          NNN           NNN          NNN           NNN           NNN          NNN          NNN
     Utilities                                   $104,000          $37,000        538 ,850     $40, 793      $42 ,832     S44,97-1     $47,222      $49,58-1      S301,254
     HOA Dues/CAM                                 S80,500          S60,500        S63,525      S66,70 1      $70,036      573 ,538     S77,215      $81,076       S492,592
     Commen: ial Parkin s/ CAM                    $60,500          $78,000        581,900      S8S,995       S90,29S      594 ,809     $99,SSO     S I0-1,527     S635,077
     Rcmodclinsf Rccon s1n1ction/T cnant         SR00,000
     Improvement Allowance
     Facilhies Mana gement                         560,000          $60,000       $63 ,000     $66,150       $69,458      $72,930       S76,S77      $80,406      $488 ,521
     Maintenance                                   565,000          $65,000       $68 ,250     $7 1,663      $75 ,246     $79,008       $82,958      S87,106      5529,231
     Labor Costs                                   S36,000          S72,000       S75,600      S79,380       SSJ,349      $87,516       $91,892      $96 ,487     $586,225


        Total Expenses                         S8, 161,000         $73 7,500     5 756, 125   $775,681      S796,215     S817,777      S840,416     $864.187    55,587,901

      Gross Rental Income                     -58, 161,000         S512 ,500     S493.875     S474.319      $453,785     S432.223      $409,584     5385 ,813   SJ , 162.099




                            Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
          Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 36 of 46


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 Fillman, EntCTU>inment Comple", LLC
 Finnnci.11] Projects-Five Year.-
 Fiscal Year January I to DccembCT l I
                                  Vear One        YcarTwn            Vear Three        Year Four            Yc11r Five        Ye11rSI•          VcarSc'- ·cn      Total Sales
                                                                                                                                                                  (five Year)
 Gross Sales                     Sll,627,637       Sll, l4 S,:?.9S   S\1,7115 ,466     S I0 ,4 70,4411     SI 1,3011,0IU     SI 1,11116,56\1 Sl:?.,7ll S,7 <w      $6 5,40 I ,6:?.7

   Food Sales                    $2,104,(lllO     S:?.,230,240       S2,JK6 ,J S7       $2 , 55 3,402       $2 ,75 7,674      S2,923,134         SJ,0\111,522       $6 ,9 4 6,111\1
   Bc:c:rSalcs                     S44S,4J\I        $472,165           $505 ,21 7         SS41l,Sll2          $ 5113,1129       $6111,11511        $655 ,990        Sl , 331,5114
   Wine Salos                      S654,000         S693,240           S741 ,7 1i7        S7\IJ,6110          S1457 , IHfi      S\1011,617         S\163,134        S1,9114,077
   Liquor Sales                  S2,717,000       S2,11110,020       SJ,11111,621       $3 ,2\17 ,33 5      SJ, 5 <,1,122     SJ,774,71111       $4,CJOl,276        SJ ,117 11,6114
   Bc\"croge Sa.Jes                S:?09,000        $221,5411          5237,tl-lK         $2 5 3,641          $273 ,932         S2110,l6K          $30 7,790          $6 20,900
   Tickel Sales                  $2,4\111,1911    S2 ,6411,11\JO     S2,1133,-156       Sl,Oll ,71111       S3,2 74 ,342      SJ,470 ,110:?.     S3,6711,1151       SH,53\1,465

 Tot.al Gross Sates              $8,627,637       $9,145 ,29 5       $9,78 5,466       $1 0. 470 ,448      S 11,lDH,1184     S 11,\1116,Sti<> S 12, 70 5 ,7(,4    $23,301,S 29

 Espenscs
 Cost of Goods Sold
   Food Sales                      SS\11,91111      Sf,21, 5117        Sf, S:?.6<,7       SliKS,300           S7 1\1,565        S75 S,5-l3        $ 7 93,321       S-l,819,117 1
   Bttr Sales                       S63,Sllll         Sf,ti,6 75         $ 7 0 ,0119        $ 73 ,5011          $ 77, 111S       $111,(144          S115,096          $ 5 17,0111
   Wine Salos                      SIK4,IOI         Sl\13,306          $ 202 ,\17 1       S::l.13, 120        S:?23, 776        S2H,96S           $246 ,71 3       Sl,4 9 K,952
   Liquor Sales                        223424       S:?34,5 9 S        S:?46 ,3::l.5      S::l.Sll,<'4 1      S:?7 1,57 3       S2KS,15:?         $299,4111        S l ,Kl9,1211
   Dc\iernsc    S.QfC'll             $43,01111        54 5,242           S-l7,5 11S         S.l\l ,HHO          S 5:?,J 74       S54 ,992           $57,742           SJ S0,11::?J
  l\.lu~ic Din:c:t Cost!         Sl,S7<,,ono      Sl,6 54 ,HOII      S1,73 7,S-lll      Sl, H:?4 ,417       Sl ,9 1S,6311     5 2, 011,420      S2, 1 1 1,9 1)1   S 12 ,1131,1105

 Tolnl Coot ofS11lcs             S2,6H2,IIII      S2 .Hl 6 .20 <,    $2 ,9 5 7,016      SJ, 1114,1167       SJ, 2<,11,111     SJ ,,123, 116     S3, S•>4.272      S2 I ,H37 ,6K'J
 Rent                            s1,:wo,0011      S I ,2011,0!Ml     S 1,200 ,IM>O      Sl,:? 00 ,0IKl      S l .2!Kl,IIDO    SI ,2<Hl,DOII     SI ,21Kl,!Ml0      Sll,4110,0110
 Property Tnx                        $77,0IKI          $ 77,CKKI         $7 7,0UO           $ 77, 000            S 77 ,000        $ 77,0IHl         $77,IMl()        SS.19,000
 Propcr1y Insurance                SI ll,IIIKl       S 11J,!HKJ        S113 ,!KlO         S I 13 ,<K>O        SI 13,000         S I 13,0CKl       SI 13,1100         S791 ,000
 IIOACAM                             Sllll,500         $84,525           $88 ,751           $93 ,189             597 ,848       $102,741          5107 ,878          S6 5 5,432
 U1ili1ics                         Sll>-1,IKJIJ     $109,200           5114 ,660          $120 ,393           $126,413          S132,733          $139,370           511-16,7(,9




                                                                                                                                                                                      -
 Totnl Occupancy Cost:1          SI ,574,SIKl     Sl . 5HJ,7:!S      $ 1,593 ,4 11     S I ,f,OJ,5 H2      S l ,614 ,261      Sl ,<•25.474      SI ,C,J7,::?4H    SI 1.23:! ,WI
 Gross E:tpcnscs                 $4,256 ,601      $4,399 ,931        $4,550 .4211      $4 ,708 ,449        $4 ,874,371       SS ,0411,590       $5,23 1,520       S JJ ,U<,\1,11'10

 Net Opcr:ning Jm:omc            $4,.17!,036      $,l,   7-15,J(,4   SS.:?JS,11311     SS,7 6 2,ll00       S6,4 33, 7 13     S6 ,'JJ 7,•>7'.I   S7 ,4 7-l,244     $40,959,37.l


Financial Anangements

Our financial model and business restructure is:

Return on Investment

The Fillmore Entertainment Complex, LLC is offering three forms of investment to encourage African
American participation. The Fillmore Entertainment Complex, LLC welcomes investors until the last day
of the close of escrow and the transfer of the property title. The minimum investment is $100,000.
Individuals or groups can participate in this investment in syndicated format. Investor repayments will
be made from the Gross Rental Income on the Projected Income Statement.

Option One - Equity Investors

This class of investor will recoup their cash investment within seven years, while maintaining their equity
ownership.

Option Two

This class of investor is designed for individuals who want a limited period of time for their investment s
with a quicker repayment period. The investors are guaranteed a 10-12% return with three- or five-year
investment options . Their investment is collateralized by the property in a second position .
Option Three



                           Response to RFPfor Fillmore Heritage Center I The Republic of Fillmore
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 37 of 46

                          FILLMORE ENTERTAINMENT COMPLEX, LLC



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      P .0. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net                          I Phone 415 290 5299



    This class of investor is designed for individuals who want to invest in a limited partnership supporting
    one of the retail businesses in the facility. These businesses include the three new restaurants, sports bar,
    bookstore/ cafe and parking garage. The investment will be with the specific enterprise or tenant. This
    class of investors is guaranteed 12·15% return or more depending on the legal structure and performance
    of the business entity.



             Sources of Capital

                                Investor                     InvestmentAmount                  Source
                  Principal Managing Director                    Sl,500,000               Private Investment
                  First Mortgageon Building                       SS,000,000              Commercial Bank
                  Private lnvestmcntffcnant Improvement           Sl.500.000              Private Investment
                  Total Investment                                ss.000.000

                  Note: Opportunitieswill be given for community investment into the project.




    Projected Sales Forecast

    Real Estate Operations
    Projections for rental income are based on a $24.00 per square foot NNN per the 2017 Fillmore Heritage
    Center appraisal prepared by R. Blum and Associates. According to R. Blum and Associates, the area
    commercial real estate rental is between $22.00 and $45.00 per square foot. The following projections are
    conservative and easily attainable.
    The estimated gross annual income, with full occupancy, is approximately $1.2 million annually. At $1.2
    million gross rental income, beginning the second year of full occupancy, the debt service is estimated to
    be $365,000 annually with operating expenses of $372,500. This will leave a gross profit of $512,500
    annually. In this scenario, the principal investors would recover their cash investment within seven years
    of operation.

    Retail Operations
    The financial projections are based on the detailed analysis of Yoshi's historical performance from 2008
    until December 2014. The financial assumptions are conservatively based at less than 50% of the actual
    performance per Yoshi's Profit and Loss statement. If managed with frugality and due diligence, this
    proposed business model and revenue projection will be achieved. At a minimum, the fixed occupancy
    costs for the facility are reasonably attainable.

    Assumptions
    For many people outside of the neighborhood, Fillmore Street south of Geary is still an undiscovered
    area. The current aesthetic design of the Yoshi's building is an unexciting physical structure that does not
    represent a vibrant cultural institution . If selected, the Fillmore Entertainment Complex, LLC will work
    with the City of San Francisco to initiate a revitalization effort to address the Fillmore Geary divide as a
    result of the Fillmore Street bridge and the need to upgrade and make relevant the Kabuki building
    facing Fillmore Street.


                     Response to RFPfor Fillmore Heritage Center I The Republic of Fillmore
     Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 38 of 46


                  FILLMORE ENTERTAINMENT COMPLEX, LLC
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 •    In the absence of existing tenants, the financial projections are based on the conservative
      historical performance of Yoshi's Jazz Club and Restaurant and 1300 on Fillmore.
 •    The physical restructuring of the space and the need to update technology and infrastructure are
      not expected to encounter any need to address major remedial construction concerns or
      compliance issues with the City of San Francisco.
 •    All financial and operational considerations are conservative forecasts.
 •    Real estate and retail business projected profit and loss are presented separately.
 •    The City of San Francisco is, as a matter of public policy and in good faith, committed to the
      successful completion of this project.
 •    The project will assume a 5% annual cost of living increase.




             Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 39 of 46

                         FILLMORE ENTERTAINMENT COMPLEX, LLC
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    Economic: Benelits

    Annual projected full time equivalent (FTE) employment from all establishments is estimated to be over
    300 FTEs. This number does not include indirect employment creation.

    Concurrence of Key Participants

    The Fillmore Entertainment Complex, LLC, has signed agreements with the retail consultants, legal
    counsel, architect, and the Financial Goldman Group.

    Our retail consultant has also been in discussions with Live Nation (House of Blues), although they are
    refraining from a signed agreement until after the City makes its selection.

    See attacl,ed letter sent to 1300 or, Fillmore restaurant .




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                     Response to RFPfor Fillmo re Heritage Center I The Republic of Fillmore
     Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 40 of 46



                    FILLMORE ENTERTAINMENT COMPLEX, LLC

                                       P.O. BOX 156404

                                SAN FRANCISCO, CA 94115




Monieta White and David Lawrence

"1300 Fillmore"

1300 Fillmore Street

San Francisco, CA 94115

April 21, 2017



Dear Monieta and David:

It was a pleasure to meet with and Susie Jones, one of your investors, to discuss the terms and     •
conditions of your lease renewal if Fillmore Entertainment Complex, LLC ("FEC") is selected to
purchase the Fillmore Heritage Center facility in accordance with the request for proposal issued
by the City and County of San Francisco. In that regard, FEC proposes to enter into a new lease
with you for the continued operation of your restaurant. We would also provide for additional
renewal options. I would be more than happy if you were to exercise the options.

As I have mentioned to you in our meeting, your continued presence on Fillmore is vital to the
fulfillment of our vision. I am confident our arrangement can be a true win-win situation for
you, FEC and our community.




Cc: Susie Jones
               Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 41 of 46



                                                                                           City ind Caunly al San F11nclu•
                                                                                           REAL ESTATE DIVISION

    Edwin M. Lee, Mayor                                                                                   John Updike
    Naomi M. Kelly, City Administrator                                                      Director of Real Estate


                                                EXHIBITE

                              BID AND OFFER TO NEGOTIATE EXCLUSIVELY

    Respondent's Purchase Price Offered: $_6.....
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                                                 ___
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                                                       _________                                 _

    Upon any counter signature by City, each party agrees to: (i) act in good faith, reasonably, and
    diligently to negotiate a purchase and sale agreement consistent the terms of the Request for Proposal
    and the Respondent's proposal (collectively, the "Agreements") to be submitted for consideration to
    the City and County of San Francisco's Board of Supervisors; and (ii) cooperate in good faith and take
    all steps reasonably requested or required to assist the other party's efforts to satisfy its obligations
    under those Agreements. In addition, each party will make or give any determinations, findings,
    requests, responses to requests, approvals, or objections in its reasonable belief, judgment, and
    discretion and within a reasonable time under the circumstances, except where a different standard or
    time period is specified in the Agreements. Respondent acknowledges that the City's obligation to
    negotiate in good faith is limited to the actions of the Director of OEWD and OEWD staff, the Director
    of MOHCD and MOHCD staff, and the Director of Property and RED staff and does not obligate any
    regulatory agency or department of the City, state or federal government.

    The term of the exclusive negotiation period shall last for sixty (60) days from the date this agreement
    is countersigned by City (if at all) unless otherwise extended by both parties in writing ("Negotiations
    Term"). So long as Respondent continues to negotiate in good faith, City representatives listed above
    shall not actively solicit offers or negotiate with any other parties during the Negotiations Term.
    Approval of any purchase and sale agreement is subject t         proval by the City and County of San
    Francisco Board of Supervisors and Mayor in thei ab lute             so e iscretion.


          Agonafer Shiferaw                                                              April 24, 2017
    Respondent's Name (Print)                                                     Date


    Accepted: City and County of San Francisco




    By:
          =---
          Dire ct or of=Property
                         -- -- ------                                           Date


•    Office of the Director of Real Estate o 25 Van Ness Avenue, Suite 400 o San Francisco, CA 94102
                                    (415) 554-9850 o FAX: (415) 552-9216
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 42 of 46




Edwin M. Lee, Mayor                                                                                                              John Updike
Naomi M. Kelly, City Administrator                                                                                     Director of Real Estate


                                            EXHIBITE

                          BID AND OFFER TO NEGOTIATE EXCLUSIVELY

Respondent's Purchase Price Offered: $                6,soo,000.00
                                                   ....;;.:.;c...:;...;;.::..:....;;_;;,.;.;;_;;,
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Francisco Board of Superv isors and Mayor in th · absol te nd le


      Agonafer Shiferaw                                                                                             April 24, 2017
Respondent's Name (Print)                                                                                    Date


Accepted: City and County of San Francisco




By:
      ~---
      Dire ct or of..,.,.,
                     -- --------
                    Property                                                                                Date




 Office of the Director of Real Estate o 25 Van Ness Avenue, Suite 400 o San Francisco, CA 94102
                                (415)554~9850   o FAX:(415)552~9216
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 43 of 46


                         FILLMORE ENTERTAINMENT COMPLEX, LLC
      P.O. Box 156404 San Francisco CA 94115 I Email Agonafer@att.net I Phone 415 290 5299



    Project Schedule


    Proposal submittal date:
    April 24, 2017

    Presentation interview:
    May 15, 2017

    ERNA executed:
    June 30, 2017

    Due diligence, leasing and cl95e escrow:
    July 1, 2017 - ·December 31, 2017

    Tenant improvements:
    January 2, 2018 - June 30, 2018

    Grand opening:
    Fillmore Street Jazz Festival
    July 1, 2018




•                   Response to RFPfor Fillmore Heritage Center I The Republic of Fillmo re
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 44 of 46


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    Proposal Execution


    Refer to Section 6, Exhibit E signed forms




                                 ,....




•                   Response to RFP for Fillmore Heritage Center I The Republic of Fillmore
         Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 45 of 46



                                                                 EXHIBITG
                                                               FORM SFEC - 126
Please complete information in the spaces below or provide the information as an attachment. If
not applicable, please indicate HN/A".



Company Name: --                   ~ Fi:..:.:
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Please list the names of ·
                                          .,..
(1) Members of the Company's board of directors:
        Not applicable



(2) Company's chief executive officer, chief financial officer and chief operating officer:

CEO: __          ..:.
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(3) Any person who has an ownership of 20 percent or more in the Company:




(4) Any subcontractor listed in the bid:
             TBD




(5) Any political committee sponsored or controlled by the Company:
            Not applicable
           Case 3:18-cv-06830-RS Document 131-15 Filed 04/28/21 Page 46 of 46
             Mayor's Office of Housing and Community Development
                          City and County of San Francisco


                                                                                                         Edwin M. Lee
                                                                                                                     i\Iayor

                                                                                                             Olson Lee
                                                                                                                   Director



                                                   EXHIBIT I
                                        EARNEST MONEY DEPOSIT FORM

On February 1olh,2017, the City and County of San Francisco ("City") issued a request for proposal to interested parties
("Respondents") for the potential sa,Leof real property located at 1300- I 330 Fillmore Street ("Property") in San
Francisco. The City, on the date indicated below, acknowledges the receipt of the Earnest Money Deposit in the
amount of $1,000.00 in the form of cashier's or certified check, to be cashed and held by the City in its trust account, on
behalf of both itself and the interested respondent party pursuant to the terms below. As a respondent, you will receive
an email confirmation of your check and also have the opportunity to review additional due diligence materials .

Upon City's receipt of the Earnest Money Deposit, a potential Respondent shall have access to detailed information
specific to the Property. After the selection of a proposal, the deposits of all unsuccessful Respondents will be
refunded. Within three (3) business days of selection, the successful Respondent will be required to increase its deposit
by Nine Thousand Dollars ($9,000.00), to a total of Ten Thousand Dollars($ 10,000.00). At that point, the entirety of
the deposit will become non-refundable and will be used to cover a portion of the City's costs related to project
administration . The deposit will increase to five (5) % of the purchase price upon execution of the Purchase and Sale
Agreement , and shall be non -refundable except in an event of default by City.

Earnest Money Deposil'>must be received no later than 4:00PM on April 3, 2017 at:

City and County of San Francisco _. ? , J ...     5.§b 2
Attn:    Rally Catapang      4"/J .. I?/
Mayor's Office of Housing and Community Development
 I South Van Ness, 5th Floor
, Francisco, CA 94103
 San


Respondent's Name

Company Phone

Email

Respondent's Signature                                                             Date ,;2.   :.2}-J,?
  To be completed by the City an                     n Francisco and copy returned to applicant as proof of deposit.

Check Received'!


         ~
Yes                                                                                          Date


No                                                                                           Initials~
         □
                     1 South Van Ness Avenue- Fifth Floor, San Francisco, CA 94103
           Phone: (415) 701-5500 Fax: (415) 701-5501 TDD : (415) 701-5503 • www.sfmohcd .org
                                                                                                    0
